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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
ALEXANDRIA DIVISION

JESSICA E. STEWART, ET AL., CIVIL DOCKET NO. 1:19-CV-01343
Plaintiffs

VERSUS JUDGE DRELL

CITIY OF LECOMPTE, ET AL..,
Defendants MAGISTRATE JUDGE PEREZ-MONTES

 

JUDGMENT
For the reasons contained in the Report and Recommendation of the
Magistrate Judge previously filed herein, noting the absence of objections thereto,
and concurring with the Magistrate Judge’s findings under the applicable law;
IT IS ORDERED that Defendants’ Motion to Dismiss (ECF No. 39) is DENIED.
THUS ORDERED AND SIGNED in Chambers at Alexandria, Louisiana on

GA
this day of October, 2020.

JUDGE DEE D. DRELL
UNITED STATES DISTRICT COURT

 
